   4:22-cv-03250-RBH         Date Filed 10/05/22     Entry Number 10       Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION



Donna M. Perry,                     )               Civil Action No.: 4:22-cv-03250-RBH
                                    )
       Plaintiffs,                  )
                                    )
v.                                  )               ORDER OF REMAND
                                    )
Costco Wholesale Corporation,       )
                                    )
       Defendant.                   )
____________________________________)

       Under 28 U.S.C. § 1441(a), a defendant is permitted to remove a case to federal court if

the court would have had original jurisdiction over the matter. District courts have original

jurisdiction “where the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between . . . citizens of different States.” 28 U.S.C. § 1332(a)(1).

Removal statutes are strictly construed against removal, and any doubts concerning the propriety

of removal must be resolved in favor of retained state court jurisdiction. Marshall v. Manville

Sales Corp., 6 F.3d 229, 232 (4th Cir. 1993). In addition, “[t]he party seeking removal bears the

burden of demonstrating that removal jurisdiction is proper.” In Re Blackwater Security

Consulting, LLC, 460 F.3d 576, 583 (4th Cir. 2006) (citation omitted). This includes

establishing compliance with the removal statute requirements. See Marler v. Amoco Oil Co., 793

F. Supp. 656, 658-59 (E.D.N.C. 1992). Courts must narrowly interpret removal jurisdiction

because of the significant federalism concerns that are raised by removing proceedings from state

court. Id. Thus, all doubts are resolved in favor of remand. See Shamrock Oil & Gas Corp. v.

Sheets, 313 U.S. 100, 108-09 (1941); see also Mulcahey v. Columbia Organic Chems. Co., Inc.,

29 F.3d 148, 151 (4th Cir. 1994).
   4:22-cv-03250-RBH         Date Filed 10/05/22      Entry Number 10     Page 2 of 2




       In the instant matter, Defendant removed this case from the South Carolina Court of

Common Pleas for Horry County pursuant to 28 U.S.C. §§ 1441 and 1446. Defendant based

federal jurisdiction on diversity jurisdiction pursuant to §1332.

       On October 3, 2022, the parties filed a stipulation indicating that the damages did not

exceed $75,000.00. The parties further stipulated that Plaintiff would not seek more than

$75,000.00 unless the amount in controversy changed and she amended her complaint within one

year after removal.

       Based on the foregoing, it appears that this Court lacks subject matter jurisdiction and

remand is appropriate at the present time.

                                             Conclusion

       For the reasons stated above, this case is hereby REMANDED to the South Carolina

Court of Common Pleas for Horry County, South Carolina. A certified copy of this Order of

Remand shall be mailed by the Clerk of this Court to the Clerk of the Horry County Court of

Common Pleas.

       IT IS SO ORDERED.

October 5, 2022                                            s/ R. Bryan Harwell
Florence, South Carolina                                   R. Bryan Harwell
                                                           Chief United States District Judge




                                                  2
